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   1                           UNITED STATES BANKRUPTCY COURT

   2                          NORTHERN DISTRICT OF CALIFORNIA

   3                                             -oOo-

   4     In Re:                                   ) Case No. 19-30088-DM
                                                  ) Chapter 11
   5     PG&E CORPORATION AND PACIFIC             )
         GAS AND ELECTRIC COMPANY                 ) San Francisco, California
   6                                              ) Tuesday, August 4, 2020
                             Debtors.             ) 10:00 AM
   7     _____________________________
                                                    THE FIRE VICTIM TRUSTEE'S
   8                                                APPLICATION FOR CLARIFICATION
                                                    AND MODIFICATION OF
   9                                                PROTECTIVE ORDER
                                                    TO PERMIT THE TRANSFER OF
  10                                                INFORMATION FOR USE BY THE
                                                    FIRE VICTIM TRUST [8492]
  11
                                  TRANSCRIPT OF PROCEEDINGS
  12                         BEFORE THE HONORABLE DENNIS MONTALI
                               UNITED STATES BANKRUPTCY JUDGE
  13

  14     APPEARANCES (Via Telephone):

  15
         For Fire Victim Trustee:               DAVID J. MOLTON, ESQ.
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  18
         For California State                   PAUL J. PASCUZZI, ESQ.
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         Court Recorder:                       LORENA PARADA/ANKEY THOMAS
  18                                           United States Bankruptcy
                                               Court
  19                                           450 Golden Gate Avenue
                                               San Francisco, CA 94102
  20

  21     Transcriber:                          COLIN RICHILANO
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         Proceedings recorded by electronic sound recording;
  25     transcript provided by transcription service.

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                 PG&E Corporation and Pacific Gas and Electric Company

   1       SAN FRANCISCO, CALIFORNIA, TUESDAY, AUGUST 4, 2020, 10:00 AM

   2                                              -oOo-

   3             (Call to order of the Court.)

   4                 THE CLERK:      Thank you.       Court is now in session.             The

   5     Honorable Dennis Montali presiding.               Calling the matter of PG&E

   6     Corporation.

   7                 THE COURT:      All right.       Good morning, everyone.             It's

   8     Judge Montali.       We have a number of people signed up to appear

   9     by phone, but I'm going to announce first if Mr. Molton is on

  10     the call.

  11                 Mr. Molton, are you there?

  12                 All right.      Who's on the call for the fire victims' --

  13                 MR. MOLTON:       Judge, yes.

  14                 THE COURT:      Oh.

  15                 MR. MOLTON:       Good morning.

  16                 THE COURT:      All right.

  17                 MR. MOLTON:       Can you hear me, Your Honor?

  18                 THE COURT:      And Mr. Pascuzzi, are you --

  19                 Yeah.    I can.

  20                 Mr. Pascuzzi, are you there?

  21                 MR. MOLTON:      Judge, can you hear me?           It's David

  22     Molton.

  23                 THE COURT:      Yes.       I hear you, Mr. Molton.

  24                 Mr. Pascuzzi, are you on the call?

  25                 MR. PASCUZZI:         Yes, I am, Your Honor.         Thank you.        For

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   1     the California State agencies listed in our pleading that we

   2     filed.

   3                 THE COURT:     All right.      For the two of you you're

   4     the -- Mr. Molton, the only response is from Mr. Pascuzzi.                     Mr.

   5     Pascuzzi indicates that he believes that he's satisfied with --

   6     and both of you are in agreement as to the amended order or the

   7     proposed revised order; is that correct?

   8                 MR. PASCUZZI:      Your Honor, this is Paul Pascuzzi.

   9     Yes.     That's correct from my perspective.

  10                 THE COURT:     Yeah.      Mr. Molton, are you satisfied?

  11                 MR. MOLTON:     Judge, I am not hearing you.

  12                 THE COURT:     I can't hear whoever just spoke.

  13                 Mr. Molton?

  14                 MR. MOLTON:     Your Honor, it's David -- yeah.             Judge,

  15     I -- yes, Judge.       You were coming in broken up, but I hear you

  16     better now.

  17                 THE COURT:     Okay.

  18                 MR. MOLTON:     I didn't hear your preface, Judge, but I

  19     do know that the California agencies' counsel, as well as, I

  20     would imagine, Adventist's counsel, both of whom we've worked

  21     with in getting a -- dealing with their issues and coming out

  22     with a consent for resolving their issues with the proposed

  23     order.     They should be on the phone, but would like me to

  24     proceed, Your Honor?

  25                 THE COURT:     Well, there's nothing to proceed.             I can

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   1     tell you that I've reviewed the proposed order and I've

   2     reviewed the response from Cal agencies, and I'm prepared to

   3     enter the order.       And there's nothing else we need to do,

   4     unless you believe there's something we need to attend to.                     So

   5     I'll leave it to you, Mr. Molton.             What do we need to do?

   6                 MR. MOLTON:     Nothing, Your Honor.          I think we

   7     (indiscernible) yesterday the revised proposed order at docket

   8     8620 as well as -- and which contains the redlines to the

   9     protective order.       And I think everything is set up and tee'd

  10     up for you, if Your Honor is ready to do so, to sign it.

  11                 THE COURT:     Okay.

  12                 MR. MOLTON:     I think we don't have --

  13                 THE COURT:     Let me --

  14                 MR. MOLTON:     -- we don't have --

  15                 THE COURT:     Let me just --

  16                 MR. MOLTON:     -- yeah.

  17                 THE COURT:     Let me just ask.        I'm sorry to interrupt.

  18     I'm just trying to deal with the crowd.

  19                 Is there anyone on the call that wishes to be heard

  20     who has an opposition to the requested motion?                All right.       I

  21     don't hear from anyone.

  22                 Mr. Molton, I'm satisfied.           You and Mr. Pascuzzi

  23     worked out your differences; that's good for me.                   I've reviewed

  24     it.     Everything's in order and I'm prepared to sign the order

  25     as soon as you upload it and conclude the hearing.                   So --

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   1                 MR. MOLTON:      Thank you, Judge.         Thank you.

   2                 THE COURT:      -- if you're satisfied with that, Mr.

   3     Molton, I'm satisfied.          Okay?

   4                 MR. MOLTON:      I'm satisfied, Your Honor.             It's a

   5     pleasure.

   6                 THE COURT:      Okay.      And Mr. Molton, just one small

   7     point.     It's a very small point.          The proposed order has got

   8     the bad old form.        It's got a line for a date and a signature.

   9     Well, that's not the form we used, or have used, for years, so

  10     please revise the order so it's got no signature block at the

  11     bottom.     The signature is done electronically at the top of the

  12     first page.

  13                 Okay.    Thank you, everyone.

  14                 MR. MOLTON:      Thank you, Judge.

  15                 THE COURT:      Thank you for participating.

  16                 MR. MOLTON:      I'm aware of that.

  17                 THE COURT:      All right.

  18                 MR. PASCUZZI:       Thank you, Your Honor.

  19                 THE COURT:      We'll talk later, and we'll conclude the

  20     hearing.

  21                 THE CLERK:      Yes, Your Honor.

  22             (Whereupon these proceedings were concluded)

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   1                             C E R T I F I C A T I O N

   2

   3     I, Colin Richilano, certify that the foregoing transcript is a

   4     true and accurate record of the proceedings.

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   8     ________________________________________

   9     /s/ COLIN RICHILANO

  10

  11     eScribers

  12     7227 N. 16th Street, Suite #207

  13     Phoenix, AZ 85020

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  15     Date:    August 5, 2020

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  5:18
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  3:1
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  5:4
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